Case 1:25-cv-00946-CKK   Document 53-14     Filed 04/07/25   Page 1 of 7




                Exhibit 13
                Civil Action No. 25-cv-0952 (CKK)
Case 1:25-cv-00946-CKK   Document 53-14   Filed 04/07/25   Page 2 of 7
      Case 1:25-cv-00946-CKK   Document 53-14   Filed 04/07/25   Page 3 of 7
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Case 1:25-cv-00946-CKK   Document 53-14   Filed 04/07/25   Page 4 of 7
Case 1:25-cv-00946-CKK   Document 53-14   Filed 04/07/25   Page 5 of 7
Case 1:25-cv-00946-CKK   Document 53-14   Filed 04/07/25   Page 6 of 7
     Case 1:25-cv-00946-CKK   Document 53-14   Filed 04/07/25   Page 7 of 7




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